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         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK

         UNITED STATES OF AMERICA                            Case No.: 24 Cr. 556 (DEH)

                        -against-

         ERIC ADAMS,

                               Defendant.



                   MOTION FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE
                   ON BEHALF OF STATE DEMOCRACY DEFENDERS FUND,
                     LAWYERS DEFENDING AMERICAN DEMOCRACY,
                       AND INDIVIDUAL EXPERTS IN LEGAL ETHICS

         State Democracy Defenders Fund, Lawyers Defending American Democracy, as well as

law professors and individual experts in legal ethics (collectively “Amici”), as listed below,

respectfully request the Court to grant them leave to submit a brief as amicus curiae in this

matter. In support of this motion, Amici state as follows:

        State Democracy Defenders Fund (SDDF) is a 510(c)(3) nonprofit organization that seeks

to defend and strengthen democracy while ensuring that Americans are free to exercise their

fundamental rights. Lawyers Defending American Democracy (LDAD) is a 501(c)(3) non-profit

organization of lawyers dedicated to protecting and preserving American democracy. Amici also

include individual representatives from LDAD and SDDF, as well as lawyers and law professors

with experience in the interpretation and application of the ethical rules governing the conduct of

lawyers. Individual amici are listed below.

         LDAD and SDDF are nonpartisan organizations devoted to defending the rule of law. In

 pursuit of their missions, LDAD and SDDF seek to ensure that lawyers involved in matters

 bearing on our democratic institutions and processes conduct themselves in accordance with the

 applicable rules of professional responsibility. LDAD and SDDF and other Amici believe that
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lawyers who engage in conduct inimical to the rule of law must be accountable – both to enforce

professional standards and to maintain public confidence that the conduct of lawyers conforms to

the ethical standards set forth the Rules of Professional Responsibility.

        In this case, the Court has raised a series of questions regarding the application of Fed. R.

Crim. P. 48(a) to the pending motion to dismiss the indictment against Mayor Eric Adams. In

the event the Court resolves those question, as Amici believe it should, through an evidentiary

inquiry into the facts and circumstances supporting the motion, Amici submit that the inquiry

should include whether Mr. Bove has violated the Rules of Professional Responsibility in his

conduct of this matter. The proposed amicus brief reviews the ethical rules that, based publicly

available information, may have been violated by Mr. Bove. Mr. Bove’s conduct also calls into

question whether he complied with the requirements of the U.S. Department of Justice Principles

of Federal Prosecution. These potential ethical violations bear on the public interest factor under

Rule 48(a) and ultimately on public confidence in the Department of Justice and this Court.

        For the foregoing reasons, Amici respectfully request leave to file an amicus brief in this

case.

                                                      Respectfully submitted,




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        February 28, 2025

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                                                Individual Amici

Norman Eisen, Board Member, State Democracy Defenders Fund

John T. Montgomery, Board Member, Lawyers Defending American Democracy

Stephen Marcus, Volunteer, Lawyers Defending American Democracy, Adjunct Professor,
Georgetown University Law Center*

Bruce Kuhlik, Former Assistant to the Solicitor General, U.S. Department of Justice; Volunteer,
Lawyers Defending American Democracy, Adjunct Professor, Georgetown University Law
Center

Virginia Canter, Ethics and Anticorruption Chief Counsel and Director, State Democracy
Defenders Fund

Don Fox, Former General Counsel and Acting Director, U.S. Office of Government Ethics

Richard Painter, Former Associate Counsel to the President and chief White House ethics lawyer
for President George W. Bush

Cassandra Robertson, Law Professor, Case Western Reserve University School of Law*

Susan Carle, Professor of Ethics Law and Vice-Dean, American University*, Editor of Lawyers’
Ethics and the Pursuit of Social Justice (NYU Press 2005)

Angela J. Davis, Distinguished Professor of Law, Criminal Justice Ethics and Criminal Law and
Procedure, American University Washington School of Law*, Author of Arbitrary Justice: The
Power of the American Prosecutor (Oxford University Press, 2007)

Bruce Green. Louis Stein Chair of Law, Director, Stein Center, Fordham University School of
Law*

Mitt Regan, McDevitt Professor of Jurisprudence, Director, Center on Ethics and the Legal
Profession, Georgetown University Law Center*

Rebecca Roiphe, Joseph Solomon Distinguished Professor of Law, New York Law School*

Ellen C. Yaroshefsky, Howard Lichtenstein Professor of Legal Ethics, Director - Monroe
Freedman Institute for the Study of Legal Ethics, Maurice A. Deane School of Law, Hofstra
University*

Abbe Smith, Professor of Law, Georgetown University Law Center*


* Affiliations are provided for identification purposes only. The views expressed in the proposed amicus
brief reflect only those of the individual and do not necessarily reflect the institution with which they are
affiliated.

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